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MEMPHIS PUBLISHING CO.,
Plaintiff,
vs.

NO. 04-4620 B P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

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Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION TO AMEND COMPLAINT

 

Before the Court is Plaintiff Memphis Publishing Company's
Motion to.Amend Complaint, or, in the Alternative, Stay.Arbitration
Pending Lawsuit, filed on May 19, 2005 (dkt #32).1 Defendant
Newspaper Guild of Memphis Local 33091 filed its response on June
2. The motion was referred to the Magistrate Judge for
determination and/or report and recommendation.2 For the following

reasons, the motion to amend complaint is GRANTED.

 

'With respect to the uncontested Motion to Expedite
Determination on Plaintiff's Motion to Amend Complaint, or, in
the Alternative, Stay Arbitration Pending Lawsuit (dkt #40), that
Motion is GRANTED.

2A motion to amend complaint is nondispositive, and
therefore, the Court will treat this motion as one for
determination. Lyondell-Citgo Refiningl L.P. v. Petroleos De
Venezuela¢ S.A., No. 02-0975, 2005 WL 883485, at *3 (S.D.N.Y. Apr
14, 2005)(citing cases).

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Memphis Publishing Company (“MPC”) and Newspaper Guild of
Memphis Local 33091 (“Guild”) entered a collective bargaining
agreement, which included a mandatory arbitration requirement for
all grievances. Pursuant to that agreement, the Guild filed four
demands for arbitration between January 11 and August 4, 2004,
based on four unrelated grievances. MPC contends it does not have
to arbitrate these four grievances, and it filed this declaratory
action, seeking a judgment declaring that the agreement expired on
January 10, 2004. The Guild argues that the agreement still
applies based on an evergreen clause, which provides for an
automatic extension of the agreement.

On March l, 2005, the Guild filed another demand for
arbitration with the American Arbitration Association on a fifth
grievance. In the present motion, MPC seeks to include this new
demand for arbitration in its complaint. Alternatively, MPC wants
the Court to stay arbitration pending this lawsuit. The Guild
argues that the Court should not permit MPC to amend its complaint
because MPC unduly delayed filing its motion to amend and the Guild
would incur substantial, undue prejudice. With respect to staying
the arbitration, the Guild argues that this Court lacks
jurisdiction to stay arbitration, that the Norris-LaGuardia Act
prohibits this Court from staying the arbitration, and that MPC has
not established the four factors applied in Hilton v. Braunskill,

481 U.S. 770, 776 (1986), which help a court determine a party's

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right to an injunction.

Federal Rule of Civil Procedure 15 states that amendments
“shall be freely given when justice so requires.” Fed. R. Civ. P.
15(a). The rule “reinforce[s] the principle that cases ‘should be
tried on their merits rather than the technicalities of
pleadings,’” Moore v. CitV of Paducah, 790 F.2d 557, 559 (6th Cir.
1986)(quoting Tefft v. Seward, 689 F.2d 637, 639 (6th Cir. 1982)),
and therefore assumes “a liberal policy of permitting amendments.”
Ellison v. Ford Motor Co., 847 F.2d 297, 300 (6th Cir. 1988).

Nevertheless, a court may deny a motion to amend when there
has been undue delay by the moving party or when the opposing party
will incur substantial prejudice if the amendment is granted. §§g
Foman v. Davis, 371 U.S. 178, 182 (1962). Defendants accurately
state that the moving party must have acted with due diligence.
Parrv v. Mohawk Motors, 236 F.3d 299, 306 (6th Cir. 2000).
Additionally, the Court recognizes that if the motion is brought at
a late stage in litigation, there is an increased burden on the
movant to show why the motion. was not brought earlierx §gg
Bridgeport Music v. Dimension Films, 383 F.3d 390, 402 (6th Cir.
2004)(citing Wade v. Knoxville Utilities Bd., 259 F.3d 452, 459
(6th Cir. 2001) ) .

This Court finds that MPC did not unduly delay the filing of
this motion. Unlike the plaintiff in E§;;y, MPC did not wait until

two months after the court granted summary judgment for the

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defendant to file the motion. £g;;y, 236 F.3d at 306. Moreover,
the fifth. demand for arbitration. was filed cmi March. 1, 2005.
Although it appears that MPC could have filed this motion prior to
May 19, the Court finds that this period of delay does not
constitute undue delay.

Defendants also argue that they would incur substantial
prejudice if the Court were to allow this amendment. The deadline
for discovery was June 16, and Defendants argue that it would be
unfair to permit MPC to amend the complaint without allowing the
Guild to conduct discovery on the amendment. This prejudice can be
minimized, if not eliminated, by extending the discovery deadline.
The Court notes that it does not anticipate that this amendment

will create substantial additional discovery because MPC is not

bringing a new claim that is “quite different from . . . the claim
that was before the court.” See Duggins v. Morganroth &
Morganroth, 195 F.3d 828, 834 (6th Cir. 1999). In fact, the

addition of one grievance does not change MPC's claim that the
collective bargaining agreement expired on January lO, 2004.
Therefore, the Court finds that MPC should be permitted to amend
its complaint to add this additional grievance, and finds good
cause to amend the scheduling order to permit discovery on the

limited issues raised by this amendment.3

 

3Because the Court will permit this amendment, it need not
reach the issue of whether the arbitration should be stayed.

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Accordingly, MPC's Motion to Amend Complaint is GRANTED. MPC
shall file an amended complaint with the Clerk of Court
within three (3) days from the date of this order. Additionally,
the Court shall extend the discovery deadline to August 1, 2005 and
the dispositive motion deadline to September 1, 2005. All other

dates, including the trial date, shall remain the same.

______F__F,
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TU M. P
United States Magistrate Judge

IT IS SO ORDERED.

 

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

